                                      Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 1 of 18


                                            IN THE CIRCUIT COURT OF MARYLAND FOR \ryICOMICO COUNTY
                 Cocnnv,                                         CIVI DIVISION
           Bnennn¡r &.
        Mnrcurv,         P.C.     AUSTIN MORALES,                             >t


                                  25585 Willow Bend
                                  Lake Forest, Californi a 92630              *
          ArroRnevs          &
CouNsELoRs ÀT LAw                 PATRICK O'HARA,                             *
                                  640 Owl Cl
                                  Arnold, Maryland 2I0I2                      *

                                           Plaintiffs,                        >k




                                  v                                           *    Case   No. 22-C-14-810
       LÉMMoN HILL LANE
'I3
 SALISBURY, MD 21801              SALISBURY UNIVERSITY,                       *
          41   o.546.1   7   50   1101 Camden Avenue
      FAx: 41O-546- l 8l      I
                                  Salisbury, Maryland 21 801                  *
                                  Serve:
                                           The Honorable Douglas F. Gansler   >F




                                           Attorney General
                                           200 St. Paul Place                 *
                                           Baltimore, MD 21202
                                                                              {<




                                  TERESA ROGERS,                              {<


                                  104 Onley Road
                                  Apt.244                                     *
                                  Salisbury, Maryland 21804
                                                                              *
                                  KRISTA MOHLHENRICH
                                  104 Onley Road                              *
                                  Apt.244
                                  Salisbury, Maryland 21804                   :ß




                                  CLAIRE SCHROYER                             ,F



                                  104 Onley Road
                                  Apt.244                                     *
                                  Salisbury, Maryland 21804
                                                                              +

                                           Defendants.
                                                                              *


                                                                   AMENDED COMPLAINT



                                                                                                            1l['ai:r:
                               Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 2 of 18


                                                                    The Parties
              Cocnev,
        Bnenuan &.                COMES NOW the Plaintiffs, Austin Morales, ("Morales") and Patrick O'Hara
     Mnlo¡rev,     P.C.
                          ("O'Hara") (Morales and O'Hara collectively referred to as ("Plaintiffs"), by and through

       ATToRN EYs û.      counsel, Laura E. Hay and Thomas J. Maloney of Cockey, Brennan & Maloney, P.C. , and Eric
CoUNSELoRS ÀT LAw

                          Rosenberg of Rosenberg    &Ball   Co. LPA and sues the Defendants, Salisbury University, Teresa

                          Rogers, Krista Mohlhenrich and Claire Schroyer and states as follows:

                          1       Morales was a student at Salisbury University ("SU") and currently resides   at 25585
3I3 LEMMoN HILL    LANE
                                  Willow Bend , Lake Forest, California92630.
 SALTSBURY,   MD 2l8Ol
       410.546.1750       2.      O'Hara was a student at Salisbury University ("SU") and currently resides at 640 Owl
   FAx:4lO    546 lAll

                                  Court, Arnold, Maryland 2I0I2.

                          3.      Defendant Teresa Rogers ("Rogers") is a student at SU currently residing at 104 Onley

                                  Road, Apt.244, Salisbury MD 21801.

                          4.      Defendant Krista Mohlhenrich ("Mohlhenrich") is a student at SU currently residing at

                                  104 Onley Road, Apt.244, Salisbury   MD 21801.

                          5.      Defendant Claire Schroyer ("Defendant Schroyer") is a student at SU currently residing

                                  at 104 Onley Road, Apt. 244, Salisbury MD   21 801.


                          6.      Defendant SU is a member      of the University   System    of Maryland engaging in   the

                                  business of providing education in the State of Maryland.

                                                            Fncts Common to   All Counts

                          7       The following relevant individuals are SU employees whose actions are addressed

                                  below:




                                                                                                               2lPagc:
                                  Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 3 of 18



                                        a.   Humberto Aristizabal ("Aristizabalis")      is SU's Director of Fair Practices &
            Cocnnv,
         Bnennnn ö.                          EEO/AA (and) pursuant to SU's Code of Conduct's Sexual Harassment Policy
     Mnlo¡rnv,    P.C.
                                             ("The Policy") is SU's Fair Practices Officer/Title IX Coordinator ("FPO");

       ATToRNEYS       ö.               b.   Valerie Randall-Lee ("Lee") is SU Assistant V.P. of Student Affairs/Dean of
CouNsELoRs AT      LAW

                                             Students (and) pursuant to The Policy SU's Deputy Title    IX Coordinators;

                                        c.   Mentha Hynes-V/ilson ("Hynes-'Wilson") is SU's Associate Vice President of

                                             Student Affairs;

5I3 LEMMoN HILL    LANE
                                        d.   Helena   Hill ("Hill") is SU's Student Conduct Administrator;   and
 SÀLrsBURY, MD 2l8Ol

        4lo 546 1750                    e.   Brian Lind ("Lind") is SU's GUC Facilities Coordinator.
   FAx: 410.54ó.l8ll

                            8        On or about October 5, 2013, Rogers, Mohlhenrich, and Schroyer attended an off-

                                     campus party at the residence of SU students ("Party").

                            9        Hill completed an investigative report regarding events that occurred    at the Party   .   See


                                     Exhibit A   attached hereto and made apart hereof.)

                            10       Upon information andbelief, on or about, the early morning hours of October 6,2013,

                                     Rogers filed a complaint with the'Wicomico County Sheriff s Offrce alleging Plaintiffs

                                     sexually assaulted Rogers at the Party.

                            11.      Upon information and belief, Rogers published written and/or oral statements to third-

                                     parties alleging Plaintiffs   -   sexually assaulted Rogers at the Party ("Roger's Assault

                                     Allegations").

                            t2.      Rogers knew, or should have Roger's Assault Allegations were false.

                            13.      On or about the early morning hours of October 6, 2013 , the Wicomico County Sheriff          s


                                     Office dispatched Sheriffs to the Party's location, interviewed witnesses, and conducted

                                     an investigation of premises.



                                                                                                                      3lFagc
                                Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 4 of 18



                          14.      Upon information and belief, on or about, the early morning hours of October 7, 2013,
           Cocnev,
        Bnenmnn &                  medical tests were administered on Rogers and these tests failed to establish any
     Mnlonev, PC.
                                   evidence of sexual assault.

       ATToRNEYS öt       15.      On or about October 7 ,2013, Rogers sent Morales the following text tnessage:
couNsELoRS AT LAw

                                      Hey Austin, I know I'm probably the last person you want to hear from right
                                      now but I really need to say something. I just got back from the Sherifls
                                      off,rce. I completely understand you don't give two shits about what I have to
                                      say or don't believe me at all. I have no idea what happened. The last thing I


3I3 LEMMON HILL    LANE

 SALTsBURY,   MD 2l8Ol
        41o.546-1750
   FAX:410.546.1811
                                      to see me apain. I'ìust          to make thinss risht. Also, I know that the
                                      detective told you not to contact me but he's the one that told me I should
                                      contact you and let you know. (emphasis added). Attached as Exhibít B.

                          t6.      On or about October 7, 2014, SU launched an investigation into whether Plaintiffs

                                   violated The Policy andlor other SU policies andlor procedures (the Policy and/or other

                                   SU policies and/or procedures collectively referred to as ("SU Policies")

                          I7       SU's Community Board ("Board") heard allegations regarding Plaintiffs on or about

                                   January   3   I, 2014 ("Board Hearing").

                          18       During the Board Hearing, Plaintiffs were placed behind a dividing wall that prohibited

                                   them from seeing any witnesses.

                          19.      Upon information and belief, SU possesses an audio recording of the Board Hearing

                                   ("Audio Transcript").

                          20       Upon information and belief, the Audio Transcript establishes Rogers presented no

                                   testimony at the Board Hearing.

                          2r.      The Audio Transcript establishes Plaintiffs were prohibited from asking many critical

                                   questions of witnesses that would have established their innocence.


                                                                                                                   4lì)agc
                               Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 5 of 18



                         22.      The Audio Transcript includes testimony by Plaintiffs and other witnesses that Rogers
            Cocnev,
        Bnen¡¡nu ü.
                                  initiated any and all physical contact with Plaintifß and other males at the Party.
    Mnlo¡¡ev, P.C.
                         23       The Audio Transcript establishes no eye-witness testimony suggesting anyone but

      ATToRNEYS ö.                Rogers was responsible for initiating physical contact with Plaintiffs and other males at
CouNsELoRs AT LAw

                                  the Party.

                         24.      The Audio Transcript establishes no eye-witness testimony from any individual

                                  suggesting Rogers was sexually assaulted at the Party.

5I3 LEMMoN HILL   LÁNE   25       Upon information and belief, the Audio Transcript contains Mohlhenrich and Schroyer's
 SALIsBURY, MD 2I8OI

       4to-546    1750            untrue statements that Plaintiffs sexually assaulted Rogers at the Party.
   FAX:410 546.1411

                         26.      Upon information and belief, Schroyer made written andlor oral statements to the Board,

                                  SU, and other unnamed third-parties alleging Plaintiffs sexually assaulting Rogers at the

                                  Party ("Schroyer's Assault Allegations").

                         27       Schroyer knew, or should have knowr¡ Schroyer's Assault Allegations were false.

                         28.      Upon information and belief, Mohlhenrich made written andlor oral statements to the

                                  Board, SU, and other unnamed third-parties alleging that Plaintiffs sexually assaulted

                                  Rogers at the Party. ("Mohlhenrich's Assault Allegations").

                         29       Mohlhenrich knew, or should have known, Mohlhenrich's Assault Allegations were

                                  false.

                         30       Upon information and belief, SU employees, including but not limited to, Lee and Hill,

                                  made written andlor oral statements      to the Board and other unnamed         third-parties

                                  alleging Plaintiffs sexually assaulted Rogers at fhe Party ("SU Employee's Assault

                                  Allegations").




                                                                                                                    5lÍ)agt:
                                   Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 6 of 18



                             31       SU employees knew, or should have SU Employee's Assault Allegations were false and
              Cocnev,
         Bnnn¡rnn ü.                  had no reasonable basis in fact.
     Malo¡rev,     P.C.
                             32       On or about February 6, 2014, Lind notif,red PlairÍiffs of the Board's findings and

       ATToRNEYS &                    decision to discipline Plaintiffs for allegedly engaging in non-consensual contact with
CouNsELoRs AT LAw
                                      Rogers.

                             a1
                             JJ.      Section III(a) The Policy defines "Sexual Harassment" as follows: "non-consensual,

                                      unwelcome sexual behavior whether between people of the same or different genders or

313 LEMMoN HILL    LANE
                                      sexual orientation." (emphasis added).
 SALTsBURY,   MD 2l8ol
        4to-546-1750         34       Section   III(f) of The Policy   def,rnes   "consent"   as "active words or actions that create
   FAx: 4l 0.546. I 8l   I




                                      mutually understood and vol.untar!.pq.rruls.sion. . . [clonsent is attained neither with use

                                      of physical force, threats or coercion, nor when a victim is incapable of giving consent

                                      due to mental or physical incapacitation due to, for example, excessive alcohol, drugs,

                                      lack of consciousness or mental disability." (emphasis added).

                             35       Pursuant   to The Policy Section III(a) and III(Ð, the recipient of a request for sexual

                                      contact   is the "victim" and that "victim" need not determine whether the person
                                      requesting    for sexual contact is too intoxicated to         consent   to the contact helshe is

                                      requesting.

                             36       Plaintiffs' advisor at the Board Hearing was SU's Managing Director For The Center

                                      For Conflict Resolution, Professor Rob LaChance ("LaChance").

                             JI       In response to the Board's findings and discipline of of Plaintiffs, LaChance wrote a

                                      letter which states in part:

                                         ". . . .It became clear during the hearing that the investigator didn't attempt to
                                         clarify what each of the witnesses meant by the term 'drunk'. In fact one of
                                         the witnesses suggested that the investigator asked a leading question where
                                         she used the term drunk without clarifying what she meant. During the


                                                                                                                             6lllagc
                         Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 7 of 18



                              hearins it became clear that each of the witne;;c; only tnpanuhaflhp sludqat
            Cocnnv,
        BneNN,cr't ö.
                              the extent that a rational person would think she couldn't consent. In fact
     M¡louev,     P.C.        each of the witness described that the alleged victim was able to hold

                              issues related to balance or             that would be tvoical of someone in
      ATToRNEYS &             an intoxicated state; and was able to participate in a number of provocative
CouNsELoRs Ar LAw             dance moves that would be difficult to comnlete if she was intoxicated to the
                                                    Iuded         the                        in fact it was

                              nsrrow. Navigating these stairs would be something that can be dLfrtcult.for
                              sober individuals to do, let alone someone that was deemed bv the
                                                                                                             t,

313 LEMMoN HILL   LANE

 SALISBURY, MD 2I8OI          "In addition to drawing conclusions from misused terminology, the       testimonyt
       41o.546.1750
   FÂx:410.54ó,1811
                              .friends didn't believe she was intoxicated. Specihcally they spoke of pulling
                              her aside about 30-45 minutes before the alleged incident to speak to her
                              about the way that she was dancing, and after speakins with her they were
                                    inced that she
                                                                                                        . They
                               even eventually left her at the party to attend another student party. Loeic
                              would dictate that if her friends had           her to be so intoxicated as to not
                               be able to give consent, they would have stal¿ed together."




                              when she stoooed oarticinatinp in the           . or whv she mav have chosen to
                              stop   participating."

                              From the testimony I observed, I am not sure how the committee was able to
                              conclude that the accused students had reason to believe the alleged victim
                              was so intoxicated as to not be able to give consent. From the testimony I


                               conclusion that -fondling took place. Finally I was shocked to hear that the
                               accused students essentially received a two semester ban from classes at
                               Salisbury, given how little was actually established via the testimony in the
                               hearing. Attached as Exhibit C.




                                                                                                             TlPirgc:
                               Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 8 of 18



                          38.     On or about Februaly 18, 2074, Molales hled an appeal of the Boald's hndings and
             Cocxev,
        Bnennn¡¡      &           suspension ("Morales' Appeal").
     Mnlonev,     P.C.
                          39      On or about February 19, 2014, O'Hara filed an appeal of the Board's f,rndings       and


      ATToRNEYS &                 proposed discipline ("O'Hara Appeal").
CouNsELoRs AT LAw

                          40.     Hynes-V/ilson rejected Morales' Appeal on or about March 5,2014.

                          4t.     Hynes-V/ilson rejected O'Hara's Appeal on or about March 5,2rJI4.

                                                                     Count I
                                                      Defamation Per Se by Defendant Rosers
3I3 LEMMoN HILL   LANE

 SALIsBURY, MD 2I8OI      42      Plaintiffs reallege and incorporate all the allegations contained in preceding paragraphs
        41o.546.1750
   FAx:410.54ó.l8ll               of this Complaint as though fully rewritten herein.

                          43.     Rogers orally and in writing published Roger's false Assault Allegations to SU and other

                                  third-parties who reasonably understood this oral and written publication          to be
                                  defamatory.

                          44      Rogers' Assault Allegations were made with the intent to be understood by those that

                                  read the allegations that Plaintiffs committed an offense involving moral turpitude that

                                  subjects Plaintiffs   to   potential infamous punishment and therefore imputes        the

                                  defamatory character of the oral and written statements.

                          45.     Rogers' Assault Allegations were false and defamatory and were made with actual

                                  malice andlor reckless disregard for the truth or falsity of the oral and/or written

                                  statements.

                          46.     In the alternative, Rogers negligently made the aforementioned false and defamatory

                                  statements about Plaintiffs




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                               Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 9 of 18



                          47   .   Rogers acted with the knowledge of the falsity of the published statements and with the
             Cocnev,
         Bn¡n¡rau     &            intent to harm Plaintiffs' standing with SU, their future educational and employment
     Mnlo¡rev,    P.C.
                                   opportunities and their standing and reputation in the SU and surrounding community.

       ATTORNEYS &        48.      As a direct result of the oral and written publication of the defamatory statements by
CouNsELoRs At LAw
                                   Rogers, the character and reputation        of Plaintiffs at SU and in the community       was

                                   impaired and they suffered and continue to suflèr mental anguish, personal humiliation,

                                   and a great loss of reputation.

3I3 LEMMON HILL   LANE    49.      As a further direct and proximate cause of the oral and written defamatory statements
 SALTsBURY, MD 21801

        4to 546 1750               published by Rogers, Plaintiffs were disciplined by SU, which has resulted in, among
   FÀx;410.54ó.l8ll

                                   other consequences and damages, diffrculty        in gaining   entrance   to another university

                                   comparable to SU, reduced future earning capacity, lost tuition payrnents and attorneys'

                                   fees.

                                   V/HEREFORE, Plaintiffs, demand compensatory damages against the Defendant Teresa

                          Rogers    in an amount in     excess   of   Seventy-Five Thousand Dollars ($75,000.00), punitive

                          damages, attorney fees, interest and costs

                                                                             Count II
                                                    Defamation Per      Se   bv Defendant Mohlhenrich

                          50.      Plaintiffs reallege and incorporate all the allegations contained in preceding paragraphs

                                   of this Complaint as though fully rewritten herein.

                          51.      Mohlhenrich orally and in writing published Mohlhenrich's false Assault Allegations to

                                   SU and other third-parties who reasonably understood this oral and written publication

                                   to be defamatory.

                          52.      Mohlhenrich's Assault Allegations were made with the intent to be understood by those

                                   that read the allegations that Plaintifß committed an offense involving moral turpitude

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                               Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 10 of 18



                                    that subjects Plaintiffs to potential infamous punishment and therefore irnputes             the
           Cocnev,
        Bne¡ln,qn &.                defamatory character of the oral and written statements.
    Malonel       P.C.
                             53.    Mohlhenrich's Assault Allegations were false and defamatory and were made with

       ATToRN EYs       ör          actual malice andlor reckless disregard for the truth or falsity of the oral andlor written
CouNsELoRs AT LAw

                                    statements.

                             54. In the alternative, Mohlhenrich          negligently made the aforementioned false             and

                                    defamatory statements about Plaintifß.

313 LEMMoN HILL   LANE       55.    Mohlhenrich acted with the knowledge of the falsity of the published statements and
 SÄLrsBURY, MD 21801

       410.546.1750                 with the intent to harm Plaintiffs' standing with SU, their future educational              and
   FAx:410   54ó lSll

                                    employment opportunities and their standing and reputation in the SU and surrounding

                                    community.

                             56.    As a direct result of the oral and written publication of the defamatory statements by

                                    Mohlhenrich, the character and reputation of Plaintiffs at SU and in the community was

                                    impaired and they suffered and continue to suffer mental anguish, personal humiliation,

                                    and a great loss ofreputation.

                             57.    As a further direct and proximate cause of the oral and written defamatory statements

                                    published by Mohlhenrich, Plaintiffs were disciplined by SU, which has resulted in,

                                    among other consequences and damages, difficulty           in gaining   entrance   to   another

                                    university comparable to SU, reduced future earning capacity, lost tuition payments and

                                    attorneys' fees.

                                    V/HEREFORE, Plaintiffs, demand compensatory damages against the Defendant, Krista

                             Mohlhenrich, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00), punitive

                             damages, attorney fees, interest and costs



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                            Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 11 of 18




              Cocnev,
           Bne¡¡nn¡r &
       Malonev,    P.C.
                                                                 Count III
                                                  Defamation Per Se by Defendant Schrover
      ATToRN EYs &
CouNsELoRs AT LAw         58.   Plaintiffs reallege and incorporate all the allegations contained in preceding paragraphs

                                of this Complaint as though fully rewritten herein.

                          59    Schroyer orally and in writing published Schroyer's false Assault Allegations to SU and

                                other third-parties who reasonably understood this oral and written publication to be
3I3   LEMMoN HILL LÀNE

 SÀLrsBURY, MD 21 8Ol           defamatory.
          4lo 546 1750
      FAx:410 546.lAll    60.   Schroyer's Assault Allegations were made with the intent to be understood by those that

                                read the allegations that Plaintiffs committed an offense involving moral turpitude that

                                subjects Plaintiffs   to   potential infamous punishment and therefore imputes          the

                                defamatory character of the oral and written statements.

                          6r.   Schroyer's Assault Allegations \ryere false and defamatory and were made with actual

                                malice andlor reckless disregard for the truth or falsity of the oral and/or written

                                statements.

                          62    In the alternative, Schroyer negligently made the aforementioned false and defamatory

                                statements about Plaintiffs.

                          63    Schroyer acted with the knowledge of the falsity of the published statements and with

                                the intent to harm Plaintiffs' standing with SU, their future educational and employment

                                opportunities and their standing and reputation in the SU and surrounding community.

                          64.   As a direct result of the oral and written publication of the defamatory statements by

                                Schroyer, the character and reputation of Plaintiffs at SU and in the community was




                                                                                                                1llPa¡¡c
                           Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 12 of 18



                                impaired and they suffered and continue to suffer mental anguish, personal humiliation,
             Cocnev,
        Bnennnn     &.
                                and a great loss of reputation.
    M¿lonev,      P.C.
                         65.    As a further direct and proximate cause of the oral and written defamatory statements

      ATToRNEYS &               published by Schroyer, Plaintiffs were disciplined by SU, which has resulted in, among
CouNsELoRs AT LAw

                                other consequences and damages, difficulty in gaining entrance to another university

                                comparable to SU, reduced future earning capacity,lost tuition payments and attorneys'

                                fees.

3I3 LEMMON HILL   LANË          V/HEREFORE, Plaintiffs, demand compensatory damages against Defendant, Claire
 SALIsBURY, MD 2I8OI

       41o.546-1750      Schroyer,   in an amount in   excess     of   Seventy-Five Thousand Dollars ($75,000.00), punitive
   FAx:4lO   546.1811

                         damages, attorney fees. interest and costs.

                                                                  Count IV
                                     Civil Consniracv hv Defendants Rosers.                      and/or Sch rover

                         66     Plaintiffs reallege and incorporate all the allegations contained in preceding paragraphs

                                of this Complaint as though fully rewritten herein.

                         67.    Upon information and belief, Rogers, Mohlhenrich, andlor Schroyer, acted jointly with

                                malice to formulate the knowingly false statements against Plaintiffs which include, but

                                are not limited to: SU Employee's Assault Allegations, Rogers' Assault Allegations,

                                Mohlhenrich' s Assault Allegations andlor Schroyer' s Assault Allegations.

                         68     Upon information and belief, Rogers, Mohlhenrich, and/or Schroyer acted with malice

                                to present the Hearing Board with knowingly false and defamatory statements about

                                Plaintiffs.

                         69     In engaging in the conduct in described above, Rogers, Mohlhenrich, and/or Schroyer,

                                knew that by engaging in the civil conspiracy to defame Plaintiffs, that as a direct and

                                proximate result of the conspiracy and subsequent defamatory actions, Plaintiffs could


                                                                                                                 12lI'}agc
                            Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 13 of 18



                                    be subject to potential infarnous punishment, hatred, contempt, ridicule, mental anguish,
           Cocnev,
        Bnn¡r¡rnu &                 andlor humiliation and would further cause Plaintiffs to be disciplined by SU which
     Mnlonnv, PC.
                                    would result in, among other things, difficulty in gaining entrance to another university

      ATToRN EYs &                  comparable to SU, reduced future earning capacity,lost tuition payments and attorney
CouNsELoRs AT LAw

                                    fees.

                                    V/HEREFORE, - PlaintitÏs demand compensatory damages against f)efendants, Teresa

                          Rogers, Krista Mohlhenrich and/or Claire Schroyer           in an amount in   excess   of Seventy-Five
3I3 LEMMoN HILL    LANE
                          Thousand Dollars ($75,000.00), punitive damages, attorneys' fees, interest and costs
 SALTsBURY,   MD 2l8Ol
        41o.546.1750                                                        Count V
   FAX:410.54ó     lSll         Intentional Infliction of Emotional Distress bv Defendants Rosers. Mohlhenrich and/or
                                                                         Schypyqr


                          70        Plaintiffs reallege and incorporate all the allegations contained in preceding paragraphs

                                    of this Complaint as though fully rewritten herein.

                          7T        Plaintiffs alleges upon information and belief that Rogers, Mohlhenrich, andlor Schroyer

                                    intentionally or recklessly formulated false statements against Plaintiffs which include,

                                    but are not limited   to:   SU Employee's Assault Statements, Rogers' Assault Allegations,

                                    Mohlheffich' s Assault Allegations and/or Schroyer' s Assault Allegations.

                          72.       Upon information and belief, Rogers, Mohlhenrich, andlor Schroyer intentionally or

                                    recklessly presented the Hearing Board with knowingly false and defamatory statements

                                    about Plaintiffs.

                          73.       When Rogers, Mohlhenrich, andlor Schroyer engaged in the conduct detailed above,

                                    Rogers, Mohlhenrich, and/or Schroyer knew or should have known their actions would

                                    cause serious emotional injury to Plaintiffs.




                                                                                                                      13lllage:
                            Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 14 of 18



                          74.    The conduct of the Defendants, Rogers, Mohlhenrich, and Sclu'oyer was intentional,
              Cocnev,
        Bne¡rnnn     &           reckless, and   in   deliberate disregard   of the high degree of probability that Plaintiffs
     Mnlonnv,     P.C.
                                 would suffer immediate and continuing emotional distress.

      ATToRNEYS ù         75.    Rogers, Mohlhenrich, and/or Schroyer's conduct detailed above caused Plaintifß to
CouNsELoRs ÀT LAw

                                 suffer psychological and mental anguish.

                          76.    The conduct     of    Rogers, Mohlhenrich, and Schroyer was malicious,                willful   and

                                 intentional.

3I3 LEMMoN HILL   LANE
                          77.    As a direct and proximate result of the aforesaid conduct by Rogers, Mohlhenrich, and
 SALTsBURY,   MD 21801
        4to 546.1750             Schroyer, Plaintiffs have suffered and         will   continue   to   suffer, severe and extreme
   FÂx: 410.54ó   I 8ll

                                 emotional distress,

                                 V/HEREFORE, - Plaintiffs, demand compensatory damages against Defendants, Teresa

                          Rogers, Krista Mohlhenrich and/or Claire Schroyer            in an amount in     excess   of Seventy-Five

                          Thousand Dollars ($75,000.00), punitive damages, attorneys' fees, interest and costs.

                                                                       Count VI
                                                      Breach of Express Contract bv Defendant SU


                          78     Plaintiffs reallege and incorporate all the allegations contained in preceding paragraphs

                                 of this Complaint as though fully rewritten herein.

                          t9     Plaintiffs allege SU Policies andlor other institutional documents SU provided to

                                 Plaintiffs create an express contract between Plaintiffs and SU. In order to gain

                                 admittance to SU, Plaintiffs were required to agree in writing to be bound in the terms of

                                 SU Policies, thereby creating a contract in writing.

                          80     Plaintiffs performed all conditions of said contract(s) required to be performed by him.




                                                                                                                         14   lPagc
                           Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 15 of 18



                         81.     SU breached said corfract(s) by, among other things, violating SU Policies plovisions
             Cocrev,
          Bnennau &              as clescribed above.
       Mnlonev,   P.C.
                         V/HEREFORE, Plaintiffs demand judgment and relief against Defendant, Salisbury University,

      ATToRNEYS ü.       as follows:
couNSELoRs AT LAW

                                A.      Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00)

                         to compensate Plaintifl's past and tuture pecuniary damages caused by SU's conduct.

                                 B.     That SU reinstates Morales, awards O'Hara his diploma, and immediately
3I3   LEMMoN HILL LANE   remove all suspensions and/or disciplinary notations from Plaintiffs' SU student records.
 sALrsBuRY, MD 21801
          41o.546.1750           C.     For such other and further relief that Plaintiffs may be entitled to at law or
      F^x:4lO 546.1811
                         equity, and costs and attorneys'fees of this action.

                                                                   Count VII
                                                    Promissorv Estoppel Against Defendant SU


                         82.     Plaintiffs reallege and incorporate all the allegations contained in preceding paragraphs

                                 of this Complaint as though fully rewritten herein.

                         83.     Plaintiffs allege SU Policies that SU provided to Plaintiffs created a promise which SU

                                 should reasonably expect to induce action or forbearance on the part of Plaintiffs.

                         84.     Plaintiffs acted in action and forbearance said policies and procedures.

                         85.     SU breached its promises under SU Policies, by among other things, taking                 the

                                 disciplinary action described above.

                         86.     Injustice can be avoided only by enforcement of SU's promise to Plaintifß to honor said

                                 policies and procedures.

                         WHEREFORE, Plaintiffs, demand judgment and relief against Defendant, Salisbury University,

                         as follows:




                                                                                                                 15    lIlagi:
                           Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 16 of 18



                                 A.      Damages in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00)
           Cocnev,
        Bnnnnn¡r ü.      to compensate Plaintiffs past and future pecuniary damages caused by SU's conduct.
     Malonev,     P.C.
                                 B.      That SU reinstates Morales, awards O'Hara his diploma, and immediately

      ATToRNEYS ù.       removes all suspensions and/or disciplinary notations from Plaintiffs' SU student records.
couNsELoRs AT LAW

                                 C.      For such other and further relief that Plaintiffs may be entitled to at law or

                         equity, and costs and attorneys' fees of this action.

                                                                        Respectfully Submitted,


                                                                                        e l"h-
3I3 LEMMoN HILL   LANE

 SÀLrsBURY, MD 2l8Ol

       41o.546 1750                                                     Thomas J. Maloney, Esquire
   FAx:410.546.1811                                                     Laura Evelyn Hay, Esquire
                                                                        Cockey, Brennan & Maloney PC
                                                                        313 Lemmon Hill Lane
                                                                        Salisbury, Maryland 21801
                                                                        Phone: 410.546.1750
                                                                        Fax: 410.546.1811




                                                                        Eric Rosenberg, Esquire
                                                                        Rosenberg & Ball Co. LPA
                                                                        395 North Pearl Street
                                                                        Granville, Ohio 43023
                                                                        Phone: 888.680.6797
                                                                        Fax 866.498.0811 fax




                                                                  JURY DEMAND

                         Plaintiffs hereby demand atrial by a jury in this



                                                                          LauraE. Hay




                                                                                                               16lPage'
                          Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 17 of 18



                                  IN THE CIRCUIT COURT OF MARYLAND FOR WICOMICO COI]NTY
           Cocxev,                                     CIVIL DIVISION
        Bne¡¡¡lnr.¡ ô.
    M¡lor.r¡y,    P.C.   AUSTIN MORALES, et al.               {<




                                Plaintiff,                           *
      ATToRNEYS &
CouNsELoRs AT LAw                                                    rt
                         v                                                       Case No. 22-C-14-810

                         TERESA ROGERS, ¿/ a/,                       *


                                Defendants.                          *


                                                                          LINE
I5 LEMMoN HILL    LÀNE

SALTSBURY,   MD 21 801
                         Dear Mr. Clerk:
       4to 546.1750
  FÀx:4lO-546-l8ll
                                 Enclosed please find an Amended Cornplaint for the above-captioned tttatter, as well as a
                         comparison copy of the Amended Complaint. Please issue a summons for the new Plaintiff at the
                         following address and return same to my attention for service by private process.

                                               Salisbury University
                                               1101 Camden Avenue
                                               Salisbury, Maryland 21 801
                                               Serve:
                                                      The Honorable Douglas F. Gansler
                                                      Attorney General
                                                      200 St. Paul Place
                                                      Baltimore, MD 21202




                                                                                          e
                                                                     Thomas J. Maloney, Esquire
                                                                     Laura Evelyn Hay, Esquire
                                                                     Cockey, Brennan & Maloney PC
                                                                     313 Lemmon Hill Lane
                                                                     Salisbury, Maryland 2 1 801
                                                                     Phone: 410.546.1750
                                                                     Fax: 410.546.1811
                         Case 1:15-cv-00517-JKB Document 29 Filed 02/23/15 Page 18 of 18




           Cocnev,              I HEREBY CERTIFY that on this            of October 2014, an exact copy of forgoing
       Bnn¡¡nnn      &   Line, Amended Complaint and comparison copy were sent by regular U.S. Mail, first class
    Mnlouev,     P.C.
                         postage prepaid, to:

                                John P. Isacson
     ATToRNEYS ô.
CouNsELoRs AT LAw               Perkins Coie LLP
                                700 13tl' Street, NV/
                                Suite 600
                                Washington DC 20005-3960
                                Attorney for Defendant Krista Mohlhenrich

                                Jennifer M. Sullam
I3 LEMMoN HILL   LÀNE
                                Mark Stiller
S^LrssuRY, MD 21 801            Niles, Barton & Wilmer, LLP
      41o.546 1750              111 South Calvert Street, Suite 1400
  FAx:4lO-546.1811              Baltimore, Maryland 21202
                                Attorney for Defendant Claire Schroyer

                                Jabeen Reza, Esq
                                PO Box 8782
                                Silver Spring, MD 20907

                                Eric Rosenberg, Esq.
                                Rosenberg & Ball Co. LPA
                                395 North Pearl Street
                                Granville, Ohio 43023


                                                                     LAURA E. HAY

                                   CERTIFICATE REGARDING PERSONAL IDENTIFIER INFORMATION
                                                      NONELECTRONIC
                                                       Rule 1-322.2(a)(r)

                                In accordance with Maryland PtuIe l-322.2(a)(l),I certify that the documents in the
                         attached submission do not contain any personal identifier information described in Maryland
                         Rule 1-322.1(b)


                                                                     LAURA E. HAY, ESQUIRE
                                                                     Cockey, Brennan & Maloney, P.C.
                                                                     313 Lemmon Hill Lane, Salisbury,   MD   21801
                                                                     Telephone : 410-5 46-17 50
                                                                     Fax: 410-546-181 I
                                                                     Emai I : Hay @cbml awfirm. com
